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                UNITED STATES DISTRICT COURT
                  DISTRICT OF NORTH DAKOTA
                    NORTHEASTERN DIVISION
UNITED STATES OF AMERICA         )
                                 )      REPORT AND RECOMMENDATION
          V.                     )
                                 ) CASE NO. 2:07-cr-35-01 & 2:09-cr-62
RYAN HERMAN                      )



     A March 22, 2011 petition, and an April 1, 2011 amended

petition, alleging violation of conditions of supervised release,

were referred to this Court (Doc. No. 123 in Case No. 2:07-cr-35-01

and Doc. No. 56 in Case No. 2:09-cr-62) for hearing, and for

preparation of this Report and Recommendation.          This Court held a

hearing on April 20, 2011. At the hearing, Ryan Herman admitted to

the allegations of the amended petition, and the parties stated

their positions on disposition. The parties agree to revocation of

supervised release, but disagree on the length of sentence.

                                 FACTS

     Herman is serving concurrent supervised release terms in two

separate cases.   In case 2:07-cr-35-01, Herman pled guilty to an

assault charge, and was sentenced to 30 months imprisonment, to be

followed by three years of supervised release.           As he approached

the end of that term of imprisonment, the Bureau of Prisons

released him for a furlough transfer from a federal facility in

California to Lake Region Law Enforcement Center (LRLEC).             Herman

did not report to LRLEC as scheduled, was put on escape status, and

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subsequently pled guilty to an escape charge in 2:09-cr-62. He was

sentenced to a term of imprisonment of eight months on the escape

charge, also followed by a three year supervised release term.

      Herman began his supervised release terms on March 11, 2010.

An earlier petition, filed November 16, 2010, alleged a number of

violations, all of which centered around Herman’s failure to

maintain a relationship with the supervising probation officer, and

his   failure    to     develop    a   long-term   plan    for      education     or

employment.      As a result of the earlier petition, Herman was

ordered to reside at Lake Region Residential Re-entry Center

(LRREC) for up to six months.          (Doc. No. 107 in Case No. 2:07-cr-

35-01 and Doc. No. 43 in Case No. 2:09-cr-62)

      Herman entered LRREC on December 16, 2010.                  He enrolled at

Little Hoop Tribal College, and did well overall until March 16,

2011.       On   that    date,     LRREC     reported   two       violations      for

“unauthorized destinations,” and the following day, LRREC reported

Herman’s unauthorized use of a homemade tattoo gun on another

resident.     Herman left LRREC on March 22, 2011, to attend class,

and did not return.        Testing (which was done that morning) later

showed that Herman had used a prescription pain medication which

had not been prescribed for him.

      A warrant was issued after the supervising officer filed a

petition, and Herman was arrested on March 25, 2011. He remains in

custody, having waived his right to a detention hearing.


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                 POLICY STATEMENTS OF SENTENCING GUIDELINES

        When he was sentenced on the most recent conviction, Herman

was in Criminal History Category IV.               The violations to which he

has admitted are of Grade C.                   Under those circumstances, the

guidelines suggest that, if supervision is revoked, a term of

custody of six to twelve months be ordered.

                     PARTIES’ POSITIONS ON DISPOSITION

        The   government   asks     that   Herman’s     supervised      release    be

revoked, that he be ordered to serve eight months in custody, and

that no additional term of supervised release be ordered after

completion of the term of custody.                   Herman does not contest

revocation, but asserts that a sentence of six months rather than

eight months would be appropriate.

                                    DISCUSSION

        Herman    addressed   the    court       personally     at   the   hearing,

apologized for his errors, and accepted full responsibility for

them.     Although he had initially done very well at LRREC, Herman

now asks that supervised release be ended, and that a sentence of

straight custody be ordered.

        In this Court’s opinion, a six month term of custody is a

reasonable sanction for Herman’s violations.                It is the low end of

the range suggested by the Guidelines’ policy statements.                      Apart

from his misuse of prescription pain medication, the violations to

which Herman has admitted are of relatively low magnitude, so a


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sentence at the low end of the range is appropriate.

                             RECOMMENDATION

     This Court recommends that the Chief District Judge find that

Herman violated conditions of supervised release as alleged in the

amended petition.     This Court further recommends that Herman’s

supervised release be revoked, and that he be ordered to serve a

term of custody of six months, with no additional supervised

release term after completion of the term of custody.

                     OPPORTUNITY FOR OBJECTION

     Pursuant to Local Rule 72.1(E)(4), either party may object to

the proposed findings and recommendation within fourteen days after

being served with a copy of this Report and Recommendation. If the

parties do not object to the proposed findings and recommendations,

they should promptly advise the Clerk's Office, so that the matter

may be considered by the Chief District Judge before the fourteen

day period ends.



     Dated this 26th day of April, 2011.



                                       /s/ Alice R. Senechal
                                       Alice R. Senechal
                                       U.S. Magistrate Judge




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